                          UNITED STATE~or~ISTRICT co~INOP~Ncow-rr-
                                          Eastem District of North Carolina                      ONJuC~~~
                                                                                                     ~~Clerk
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        United States of America                )
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                         vs.                    )
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                                                )

                                 PROBATION ORDER UNDER 18 U.S.C. § 3607
        The defendant having been found guilty of an offense described in 21 U.S.C. §844, and it appearing that the
defendant (1) has not, prior to the commission of such offense, been convicted of violating a federal or state law relating
to controlled substances, and (2) has not previously been the subject of a disposition under this subsection.

       IT IS ORDERED that the defendant is placed on probation as provided in 18 U.S.C. §3607 for a period of twelve
(12) months without a judgment of conviction first being entered. The defendant shall comply with the standard conditions
of probation set forth on the next page of this Order, and the following special conditions:

1.      The defendant must participate in a drug education or treatment program, or both, if ordered to do so by the
        supervising probation officer;
2.      The defendant must undergo drug testing, including but not limited to urinalysis, if ordered to do so by the
        supervising probation officer
3.      The defendant must:
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                                                                            Robert B. Jones, Jr., U.S. Magistrate Judge
                                                                                 Name and Title of Judicial Officer
                                              DEFENDANT'S CONSENT

        I have read the proposed Probation Order under 18 U.S.C. §3607 and the conditions of probation, including the
special conditions above. I understand that if I violate any conditions of probation, the court may enter a judgment of
conviction and proceed as provided by law. I consent to the entry of the Order.

        I also understand that, ifl have not violated any condition of my probation, the Court, without entering a judgment
of conviction, (1) may dismiss the proceedings and discharge me from probation before the expiration of the term of
probation, or (2) must dismiss the proceedings and discharge me from probation at the expiration of the term of probation.

       I also understand that, ifi was under age 21 at the time ofthe offense, I am entitled to h -:ve the record of my arrest
and conviction expunged upon application.

Date:    .2   (r /t '?




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       1.      not leave the judicial district without the permission of the court or probation officer;

       2.      report to the probation officer as directed by the court and shall submit a truthful and complete written report within
               the first five days of each month;

       3.      ans~er truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

       4.      support any dependents and meet other family responsibilities;

       5.      work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
               acceptable reasons;

       6.      notify the probation officer at least 10 days prior to any change in residence or employment;

       7.      refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any controlled
               substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

       8.      not frequent places where controlled substances are illegally sold, used, distributed, or administered;

       9.      not associate with any persons engaged in criminal activity, or convicted of a felony, unless granted permission to
               do so by the probation officer;

       10.     permit a probation officer to visit you at any time at home or elsewhere and permit confiscation of any contraband
               observed in plain view of the probation officer;

       11.    Notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;

       12;     not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
               permission of ~he court; and

       13.     notify third parties as directed by the probation officer of risks that may be occasioned by the defendant's criminal
               record or personal history or characteristics, and permit the probation officer to make such notification and to
               confirm the defendant's compliance with the notification requirement.




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